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                          EXHIBIT 2
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  to forgo these measures as long as Vizio acts in good faith to come into compliance with the GPL and to
  remedy the harm caused by its violation of the license. Conservancy therefore asks that you work with us
  to bring your products into compliance and cover our costs in our effort to help you along the road to full
  GPL compliance for your products.
  Conservancy looks forward to receiving an immediate and favorable response to this letter from Vizio.
  Without a manifestation of Vizio’s commitment to resolving this matter directly with Conservancy, we will
  be forced to resort to other, more public venues to preserve Conservancy’s and the other copyright holders’
  rights to Linux.
  However, ideally, we can work together collaboratively to bring your product into full compliance with the
  GNU General Public License. Please get in contact with me immediately on this matter so that we can
  further discuss plans for doing so.

                                         Sincerely,




                                         Denver Gingerich
                                         FLOSS License Compliance Engineer
                                         Software Freedom Conservancy
  cc: Karen Sandler, Executive Director, Software Freedom Conservancy
      Bill Baxter, CTO, Vizio




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